






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-30,944-05




EX PARTE TONY WALTER GORDON, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. B-07-1378-S-W-1IN THE 119TH JUDICIAL DISTRICT COURT FROM TOM GREEN COUNTY 



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.
&nbsp;
O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex.Crim.App. 1967).  Applicant was convicted of the offense of
driving while intoxicated and sentenced to imprisonment for sixty years. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On December 15, 2010, an order designating issues was signed by the trial court . The habeas
record has been forwarded to this Court prematurely. We remand this application to Tom Green
County to allow the trial judge to complete an evidentiary investigation and enter findings of fact and
conclusions of law.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter’s notes from any hearing or
deposition, along with the trial court’s supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 
Filed: January 26, 2011
Do not publish 
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